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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 K. ERIC MARTIN and RENÉ PÉREZ,

        Plaintiffs,
 v.                                                   Civil Action No. 1:16-cv-11362-PBS

 GREGORY LONG, in his Official Capacity
 as Police Commissioner for the City of
 Boston, and RACHAEL ROLLINS, in her
 Official Capacity as District Attorney for
 Suffolk County,

         Defendants.


                                    JOINT STATUS REPORT

        Plaintiffs K. Eric Martin and René Pérez (“Plaintiffs”), and Defendants Gregory Long

and District Attorney Rachael Rollins (each in their official capacity) (together, “Defendants,”

and collectively with Plaintiffs, the “Parties”) submit the following status report relative to the

Parties’ effort to resolve the issue of attorneys’ fees and costs:

        1.      The Plaintiffs extended a settlement proposal on March 22, 2021.

        2.      The Defendants extended a counter-offer on July 20, 2021.

        3.      The Plaintiffs are reviewing the Defendants’ counter-offer, and Counsel for the

Parties have agreed to have a follow up call on July 28, 2021.

        4.      The Parties have agreed that if they reach an impasse in the negotiations prior to

the August 2, 2021 Status Conference, they will shift their efforts to proposing a briefing schedule

for Plaintiffs’ fee petition.
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Dated: July 21, 2021

 Respectfully submitted,                           Respectfully submitted,

                                                   DEFENDANT, GREGORY LONG
                                                   By his attorney,
                                                   Henry C. Luthin
                                                   Corporation Counsel

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                                                   * With Permission



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                               CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the above document was filed via the Court’s CM/ECF
system and that and a copy will be sent automatically to all counsel of record on July 21, 2021.

                                                   /s/ William D. Dalsen
                                                   William D. Dalsen (BBO No. 689334)




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